           Case 2:24-cr-00105-WBV-JVM          Document 298-3        Filed 05/19/25     Page 1 of 4

    From:                   <       @kinginjuryfirm.com>
       To:                <                           >
  Subject: Re: Damian Labeaud P-AE-LA-879034
     Date: Fri, 10 Nov 2017 15:52:57 +0000


Checking in during business hours. Thanks.


Attorney
The King Firm
2912 Canal Street
New Orleans, LA 70119
Main: 504-909-5464
Fax: 800-901-6470
      @kinginjuryfirm.com

On Thu, Nov 9, 2017 at 4:53 PM,                               @
                                                              @kinginjuryfirm.com> wrote:
 Checking back in - this is the final thing we need to lock this one down.

  Thanks


  Attorney
  The King Firm
  2912 Canal Street
  New Orleans, LA 70119
  Main: 504-909-5464
  Fax: 800-901-6470
        @kinginjuryfirm.com
        @

  On Wed, Nov 8, 2017 at 4:34 PM,                  <                             > wrote:

    The request is under review.




    Servicing Representative




                    direct
                    fax



                                                                                             GOVERNMENT
    From:                 [mailto      @
                                       @kinginjuryfirm.com]                                    EXHIBIT
    Sent: Wednesday, November 8, 2017 12:07 PM
    To
                                                                                                 A
    Subject: Re: Damian Labeaud P-AE-LA-879034




                                                                                              US-072-00243038
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Any updates?




Attorney

The King Firm

2912 Canal Street

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Fax: 800-901-6470

      @kinginjuryfirm.com



On Tue, Nov 7, 2017 at 1:49 PM,                   <       @kinginjuryfirm.com> wrote:

$260,000 settlement

$80,000 fee (reduced to $80k)

$29,000 expenses

$95,500 costs to be paid (meds and you guys)



One medical provider had $153,000 and has ok'd (begrudgingly) to accept $57,500



The expense and medical numbers above are rounded for ease of laying them out for you.




Attorney

The King Firm



                                                                                         US-072-00243039
     Case 2:24-cr-00105-WBV-JVM                 Document 298-3           Filed 05/19/25       Page 3 of 4
2912 Canal Street

New Orleans, LA 70119

Main: 504-909-5464

Fax: 800-901-6470

        @kinginjuryfirm.com
        @



On Tue, Nov 7, 2017 at 1:35 PM,                       <                                 > wrote:

Hello



I called your office earlier today and left a message. I can help you with this reduction request. I just need a couple
numbers before I can hand it over to my supervising attorney.



What is the settlement at?

What is your attorney fee?

What are your legal expenses?

How much are the medical liens?

What are the medical liens reducing to?



Proposed figures are acceptable; I understand medical providers sometimes take time to get back with reductions.
Once I have these numbers I can pass this up to my supervising attorney for review.



Thank you,




Servicing Representative




                direct
                fax




From:                 [mailt        @
                                    @kinginjuryfirm.com]
Sent: Tuesday, November 7, 2017 1:19 PM



                                                                                                       US-072-00243040
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To
Subject: Damian Labeaud P-AE-LA-879034




I left you a few messages about this client. Please let me know if you guys would be able to reduce the
outstanding balance by $5,000 to $26,725.



All of the providers, including us, are taking a hit to get this one done. There were recent allegations of fraud
that pushed us to resolve sooner rather than later.



Thanks,




Attorney

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      @
      @kinginjuryfirm.com




                                                                                                 US-072-00243041
